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                                                                                                              U.S. DISTRICT COURT
                                                                                                                  N.D. OF ALABAMA


                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION


BILLIE N. SMITH,                                         }
                                                         }
        Plaintiff,                                       }
                                                         }
v.                                                       }     Case No.: 2:18-cv-00826-RDP
                                                         }
AVON PRODUCTS, INC., et al.,                             }
                                                         }
        Defendants.                                      }


                                       MEMORANDUM OPINION

        This case is before the court on the Motions to Dismiss for Lack of Jurisdiction filed by

Defendants Cyprus Amax Minerals Company, Cyprus Mines Corporation (collectively “the

Imerys Defendants”), and Imerys Talc America Inc.1 (Doc. # 69) and Defendant Johnson &

Johnson (hereinafter “J&J”) (Doc. # 71). Following a period of limited jurisdictional discovery,

the Motions have been fully briefed (Docs. # 70, 72, 87-88, 98-99) and are ripe for decision.

After careful review, and for the reasons explained below, the court concludes that the Motions

to Dismiss (Docs. # 69, 71) are due to be granted.

I.      Background

        This lawsuit arises out of Plaintiff Billie N. Smith’s alleged contraction of mesothelioma

following her exposure to multiple talc body products that allegedly contained asbestos. (Doc. #

1 at ¶¶ 1-3). Plaintiff used the products on herself and on her son, who has a mental disability, at


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           On February 14, 2019, Defendant Imerys Talc America, Inc. filed a Notice of Suggestion of Pendency of
Bankruptcy and Automatic Stay of Proceedings. (Doc. # 100). Pursuant to Section 362 of the Bankruptcy Code, this
case is due to be stayed with respect to Imerys Talc America, Inc., and the Motion to Dismiss for Lack of
Jurisdiction filed by the Imerys Defendants (Doc. # 69) is due to be administratively terminated with respect to
Imerys Talc America, Inc. The court’s ruling on the Motion to Dismiss (Doc. # 69) shall apply only to the remaining
Defendants, Cyprus Amax Minerals Company and Cyprus Mines Corporation, who, as noted above, are alone
referred to herein as the Imerys Defendants.

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her residence in Jefferson County, Alabama. (Id. at ¶¶ 6, 19). Specifically, Plaintiff avers that

from the 1950’s through 2015, she used Johnson’s Baby Powder that was “designed, tested,

produced, manufactured, marketed, distributed, sold, and/or supplied” by J&J and its subsidiary,

Johnson & Johnson Consumer Inc. (hereinafter “JJCI”). (Id. at ¶¶ 18-19). She further claims that

the Imerys Defendants supplied talc to J&J and JJCI during the relevant time period. (Id. at ¶ 20).

        In her Complaint, Plaintiff alleges Defendants2 are liable based on theories of negligence

(Count One), wantonness (Count Two), and breach of warranty (County Three). She also

contends that Defendants are liable under the Alabama Extended Manufacturer’s Liability

Doctrine (the “AEMLD”) (Count Four). (Id. at 8-17). The Imerys Defendants and J&J have each

filed motions to dismiss based upon lack of personal jurisdiction. (Docs. # 69, 71).

            A. The Imerys Defendants

        Defendant Cyprus Amax Minerals Company (“CAMC”) is a Delaware corporation with

its principal place of business in Arizona. (Doc. # 70 at 2), and Defendant Cyprus Mines

Corporation (“Cyprus Mines”) is a wholly owned subsidiary of CAMC. (Id. at 2). Defendant

Imerys Talc America, Inc. (“Imerys”) is a Delaware corporation with its principal place of

business in California. (Id. at ¶ 14). Imerys has registered with the Alabama Secretary of State to

do business in Alabama. (Id.).

        Plaintiff alleges the following jurisdictional facts with respect to the Imerys Defendants.

From 1979 to May 2000, Defendants owned and operated a talc mine, mill, and pilot plant

located in Alpine, Talladega County, Alabama. (Doc. # 87 at 7). In 1979, Defendant Cyprus

Mines, through a wholly owned subsidiary, purchased the Alpine Mine and Mill. (Id.). In 1992,

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           Plaintiff’s Complaint originally named nine defendants: Avon Products Inc., Brenntag North America,
Brenntag Specialties Inc., Cyprus Amax Minerals Company, Cyprus Mines Corporation, Imerys Talc America Inc.,
Johnson & Johnson, Johnson & Johnson Consumer Companies Inc., and Whittaker Clark & Daniels Inc. Defendants
Avon Products Inc., Brenntag North America, and Brenntag Specialties Inc. have since been dismissed from the
case. (Docs. # 51, 54, 67).

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Cyprus Mines transferred the business to Cyprus Talc America. (Id.). Thereafter, Cyprus Talc

America sold its talc operations to RTZ America, which changed its name to Luzenac America.

(Id.). From 1992 to May 2000, Luzenac America owned and operated the Alpine Mine and Mill

until it sold the facilities to an unrelated Alabama company. (Id.). For a few years in the early

2000s, Luzenac America continued to operate the Alpine Mine and Mill under a lease. (Id.). In

August 2011, Imerys Minerals Holding, Ltd. (a UK entity) purchased Luzenac America, then

renamed the entity Imerys Talc America—a defendant in this case, which has filed for

bankruptcy protection. (Id. at 8). By 2011, the Alpine Mine and Mill was no longer in operation

and its equipment was dismantled and shipped to Imerys’s pilot plant in Sappington, Montana.

(Id.). Most notably, Plaintiff asserts that from 1989 to the present, Defendants have supplied the

majority of cosmetic grade talc used by J&J. (Id.).

       In response, the Imerys Defendants argue that they are not subject to personal jurisdiction

in Alabama because (1) Imerys never sold talc directly to J&J in Alabama and (2) CAMC never

mined, milled, processed, or sold talc in Alabama or any other state. (Doc. # 70 at 2-3).

           B. J&J and JJCI

       Defendant J&J is a New Jersey corporation with its principal place of business in New

Jersey, and JJCI is a wholly owned subsidiary of J&J. (Doc. # 71-1). Plaintiff alleges the

following jurisdictional facts with respect to J&J. In 1966, J&J purchased a talc mine in Vermont

and created a company called Windsor Minerals to own and operate the mine. (Doc. # 88 at 6).

In 1989, J&J entered into an agreement to sell the Windsor Mine to Cyprus Mines Corporation.

(Id.). Part of that agreement obligated Cyprus Mines Corporation to supply cosmetic grade talc to

JJCI. (Id.). The talc used in Johnson’s Baby Powder was sourced from the Windsor mine, at least

in part, until 2003. (Id.). Plaintiff also alleges that despite J&J’s assertion that JJCI is the sole



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entity responsible for Johnson’s Baby Powder, J&J has continued to be the public voice for that

product since the 1980s. (Id. at 7-12). Plaintiff seeks to establish personal jurisdiction over J&J

based on its own conduct related to Johnson’s Baby Powder within Alabama, or in the

alternative, based on JJCI’s contacts with Alabama through corporate veil-piercing principles.

       J&J first argues that after January 2, 1979, it no longer designed, manufactured,

marketed, or sold Johnson’s Baby Powder (Doc. # 72 at 2). From January 2, 1979 forward, JJCI

(under its current and former names) exclusively sold and distributed Johnson’s Baby Powder.

(Id. at 4). In fact, J&J submits that it did not design, manufacture, market, or sell any product in

Alabama during any actionable time period in this case. (Id.). Applying Alabama’s asbestos-

specific “last exposure rule,” J&J argues that Plaintiff’s claims against it relating to the sale of

Johnson’s Baby Power before that date are time-barred. (Id. 2-5; Doc. # 98 at 3). J&J further

submits that it cannot be subject to personal jurisdiction for any claim against it after January 2,

1979 because JJCI – an entirely separate corporate entity -- became the exclusive distributor of

Johnson’s Baby Powder. (Id. 8-9; Doc. # 98 at 3).

II.    Standard of Review

       Under Federal Rule of Civil Procedure 12(b)(2), “[a] plaintiff seeking the exercise of

personal jurisdiction over a nonresident defendant bears the initial burden of alleging in the

complaint sufficient facts to make out a prima facie case of jurisdiction.” United Techs. Corp. v.

Mazer, 556 F.3d 1260, 1274 (11th Cir. 2009). After the defendant challenges jurisdiction with

affidavit evidence in support of its position, “the burden traditionally shifts back to the plaintiff

to produce evidence supporting jurisdiction unless [the defendant’s] affidavits contain only

conclusory assertions that the defendant is not subject to jurisdiction.” Meier ex rel. Meier v. Sun

Int’l Hotels, Ltd., 288 F.3d 1264, 1269 (11th Cir. 2002). If, however, “the plaintiff’s complaint



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and supporting evidence conflict with the defendant’s affidavits, the court must construe all

reasonable inferences in favor of the plaintiff.” Id.

III.   Analysis

       A federal court sitting in diversity “may exercise personal jurisdiction over a nonresident

defendant to the same extent that [an Alabama] court may, so long as the exercise is consistent

with federal due process requirements.” Licciardello v. Lovelady, 544 F.3d 1280, 1283 (11th Cir.

2008). Under its long-arm statute, “Alabama permits its courts to exercise jurisdiction over

nonresidents to the fullest extent allowed under the Due Process Clause of the Fourteenth

Amendment to the Constitution.” Ruiz de Molina v. Merritt & Furman Ins. Agency, Inc., 207

F.3d 1351, 1355-56 (11th Cir. 2000) (citing Martin v. Robbins, 628 So.2d 614, 617 (Ala. 1993));

see also Ala. R. Civ. P. 4.2 (permitting jurisdiction over nonresident defendants on any basis

“not inconsistent with the constitution of this state or the Constitution of the United States”).

Thus, this court may exercise personal jurisdiction over a defendant so long as jurisdiction is

consistent with federal due process principles.

       The Supreme Court has recognized two types of personal jurisdiction that are consistent

with the Fourteenth Amendment’s Due Process Clause—general jurisdiction and specific

jurisdiction. See Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 923-24

(2011). A defendant subject to general jurisdiction in a forum may be sued in that forum on any

and all claims against it, even if the claims have no connection to the forum. Id. at 919. By

contrast, a court has specific jurisdiction over a defendant only with respect claims that arise out

of or relate to the defendant’s contacts with the forum. Id. at 923-24.




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         Plaintiff does not argue that Defendants are subject to general jurisdiction in Alabama.3

Therefore, the question the court must decide is whether J&J and the Imerys Defendants are

subject to specific jurisdiction in Alabama for the claims asserted against them in this lawsuit.

         The Eleventh Circuit follows a three-part test to determine whether specific jurisdiction

over a defendant is proper. See Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1355

(11th Cir. 2013). First, the plaintiff’s claims must “arise out of or relate to at least one of the

defendant’s contacts with the forum.” Id. (internal quotation marks omitted). Second, the

nonresident defendant must have “purposefully availed himself of the privilege of conducting

activities within the forum state.” Id. (internal quotation marks omitted). Finally, if the plaintiff

establishes the first two prongs, the defendant may still avoid jurisdiction by making “a

compelling case that the exercise of jurisdiction would violate traditional notions of fair play and

substantial justice.” Id. (internal quotation marks omitted). Here, Plaintiff has failed to establish

specific personal jurisdiction over the Imerys Defendants and J&J.

               A. The Imerys Defendants are Not Subject to Personal Jurisdiction in Alabama

         Plaintiff has failed to establish the first prong of the Eleventh Circuit’s three-part specific

jurisdiction test because she cannot show that her claims are related to any contacts the Imerys

Defendants had with Alabama. “[S]pecific jurisdiction is confined to adjudication of issues

deriving from, or connected with, the very controversy that establishes jurisdiction.” Bristol-

Myers Squibb Co. v. Superior Ct. of Cal., 137 S.Ct. 1773, 1780 (2017). “[T]he suit must arise

out of or relate to the defendant’s contacts with the forum…In other words, there must be an

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            Indeed, any such allegation would be off the mark. For general jurisdiction to exist, a defendant’s
“affiliations with the State” must be “so continuous and systematic as to render [it] essentially at home in the forum
State.” Daimler AG v. Bauman, 571 U.S. 117, 127 (2014) (internal quotation marks omitted). For example,
corporations are subject to general jurisdiction where they are incorporated and have their principal place of
business. Id. at 137. Plaintiff has alleged that (1) Cyprus Amax Minerals Company and Cyprus Mines Corporation
are Delaware corporations with their principal places of business in Colorado; and (2) J&J is a New Jersey
corporation with its principal place of business in New Jersey. (Doc. # 1 at ¶¶ 12-15) Thus, none of these
Defendants are subject to general jurisdiction in Alabama.

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affiliation between the forum and the underlying controversy, principally, [an] activity or

occurrence that takes place in the forum State and is therefore subject to the State’s regulation.”

Id. (emphasis in original) (internal quotations omitted).

        The Imerys Defendants point to the testimony of their jurisdictional deponent, Patrick

Downey and argue that Plaintiff has failed to establish that her claims arise out of or are related

to their contacts with Alabama. Downey is the New Productions Development Engineering

Director with Imerys Talc America, Inc. (hereinafter “Imerys”) and an authorized representative

of Cyprus Amax Minerals Company (“CAMC”). (Doc. # 70-1). His affidavit provides that

Imerys “never sold talc directly to Johnson & Johnson in the State of Alabama,” and CAMC has

“never mined, milled, processed, manufactured, sold, supplied, or distributed talc.” (Id. at 2).

Thus, CAMC never sold talc to J&J in the State of Alabama or any other state. (Id. at 2).

        Plaintiff responds by retracing the Imerys Defendants’ involvement in the talc business in

Alabama, including their ownership and operation of the Alpine Mine, Mill and Pilot Plant

located in Talladega, Alabama. (See generally Doc. # 87). Specifically, Plaintiff alleges that from

1979 to May 2000, the Imerys Defendants used the Alpine Mine and Mill to produce talc for

usage in “cosmetics and baby powder” and “talc produced at the Alpine Mill was tested for

and/or by Johnson & Johnson for asbestos fibers in the talc.” (Id. at 7). Plaintiff further alleges

that from 1989 to present, the Imerys Defendants have supplied the majority of J&J’s cosmetic

grade talc. (Id. at 8).

        However, the court agrees with the Imerys Defendants that a connection between the

forum and Plaintiff’s claims is lacking. Plaintiff has largely ignored the “unequivocal testimony”

Patrick Downey gave in his deposition for this case. (Doc. # 99 at 1). While Downey readily




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admitted that “some of the talc manufactured at Alpine were for cosmetic grades” (Id. at 2; Doc.

# 99-1 at 21), he clarified that no talc from Alpine was ever sold to J&J:

       A:     I’m aware of the products that we sold to Johnson & Johnson. Generally
       speaking, those grades were grade 66, grade 96 and grade 25.

       …

       A:     Grade 25 is a product that we manufacture at our facility in Houston,
       Texas that’s been approved by Johnson & Johnson per their specification.

       …

       Q:      Okay. And what is grade 66?

       A:     Grade 66 is the talc grade of – that we manufacture or that Windsor
       Minerals actually was producing for Johnson & Johnson at the time Cyprus
       acquired Windsor Minerals from Johnson & Johnson. So it was a historic talc
       product that J&J subsidiary was manufacturing for themselves….

       Q:      Okay. And what is grade 96?

       …

       A:   Both grade 66 and grade 96 were manufactured at West Windsor,
       Vermont.

       Q:      And the talc that was manufactured at Windsor to become grade 96, did
       any of that talc come from the Alpine Mine?

       A:      No.

       Q:      How do you know that?

       A:     Because…to meet J&J’s specification had to be pre-approved by Johnson
       & Johnson, and grade 66 and grade 96, the only approved sources for those grades
       were for mines in Vermont.

       …

       Q:     Okay. And 25 is manufactured since 2003 in Houston, where did the ore
       come from?

       A:     It was one specific grade of ore called Guangxi number 2 sourced from
       China.


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(Doc. # 99 at 3-4; Doc. # 99-1 at 24-25).

         Downey also confirmed that from 1989 to present, the Imerys Defendants supplied the

majority of cosmetic grade talc used by J&J. (Id. at 4; Id. at 34). But, Downey explicitly stated

that none of that talc came from the Alabama Alpine Mine and Mill.4

         Q:       Has the Alpine Mine ever been approved as a source of talc ore by J&J?

         A:       No.

         Q:      Was the Alpine Mill ever approved as the processing center, processing
         plant, by J&J?

         A:       No.

         Q:       Was any talc mined out of Alpine sold to J&J?

         A:       No.

         Q:       Was any talc milled at the Alpine plant sold to J&J?

         A:       No.

(Id.; Id. at 41). Again, Plaintiff has glossed over Downey’s testimony that the only Imerys talc

that was pre-approved by J&J came from Vermont, China, and briefly, Italy. (Id.; Id. at 42).

Consequently, personal jurisdiction over the Imerys Defendants in Alabama is not appropriate

here because Plaintiff has failed to establish that her claims are related to any of Defendants’

contacts with Alabama.


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           Plaintiff also takes issue with Downey’s reliance on a summary of sales records he was given prior to his
deposition. (Doc. # 87 at 15-17). According to Downey, the sales records show that no talc from the Alpine facility
was sold to J&J. (Id. at 15; Doc. # 99-1 at 23-24). Plaintiff argues that the sales records are inadmissible pursuant to
Federal Rule of Evidence 1006 because the Imerys Defendants failed to provide proper foundation for its admission,
including the testimony of the witness who prepared it. (Doc. # 87 at 16). The court first notes that the Imerys
Defendants have not explicitly cited to or relied on the sales summary in their briefing. Instead, they rest their
arguments on Downey’s testimony, who without referencing the sales summary, stated that he had personal
knowledge of the products that were sold to J&J. (Doc. # 99-1 at 24). As discussed above, Downey explained that
the only grades of talc J&J had pre-approved -- grades 66, 96, and 25 – were neither sourced nor manufactured at the
Alpine Mine and Mill. (Id. 24-25). Based on this testimony derived from Downey’s personal knowledge, the court
concludes that it lacks personal jurisdiction over the Imerys Defendants.

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       Additionally, the court is not persuaded by Plaintiff’s argument that, because they

registered to do business in Alabama, the Imerys Defendants have voluntarily consented to the

jurisdiction of Alabama courts. (Doc. # 87 at 12-15). Plaintiff claims that Imerys is currently

registered as a foreign corporation doing business in Alabama, and its predecessors have been

continuously registered since 1992. (Id. at 12). As Defendants correctly note, consent-by-

registration is typically a “general jurisdiction argument because it is based on the premise that a

foreign corporation can be sued in Alabama for contacts unrelated to the plaintiff’s claims.”

(Doc. # 99 at 9); see Johnston v. Foster-Wheeler Constructors, Inc.158 F.R.D. 496, 501-503

(1994) (discussing defendant’s corporate registration in the forum within the context of general

jurisdiction). However, within the context of specific personal jurisdiction, procuring a license to

do business in Alabama may “demonstrate that the Defendant has purposefully availed itself of

the privilege of conducting activities within the forum.” Id. at 503.

       Here, neither theory of consent-by-jurisdiction saves Plaintiff’s claims. First, Plaintiff has

already conceded that Alabama does not have general jurisdiction over the Imerys Defendants

because they are not at home within this forum. (Doc. # 87 at 3). Second, because Plaintiff

cannot demonstrate that her claims arise out of or are related to Defendants’ contacts with

Alabama, the court need not address whether the Imerys Defendants purposefully availed

themselves of the privilege of conducting business in Alabama. See Waite v. All Acquisition

Corp., 901 F.3d 1307, 1313-16 (11th Cir. 2018) (concluding that the exercise of specific

jurisdiction over defendant would violate due process based on plaintiff’s failure to establish

jurisdictionally relevant contacts with the forum). Thus, the Imerys Defendants’ Motion to

Dismiss is due to be granted.




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           B. J&J is Not Subject to Personal Jurisdiction in Alabama

       In its Motion to Dismiss, J&J raises a hybrid challenge to Plaintiff’s claims and argues

that Alabama’s asbestos-specific rules of accrual prevent this court from exercising personal

jurisdiction over J&J. (See generally Doc. # 72). In response, Plaintiff contends that personal

jurisdiction over J&J exists based on two alternative theories of liability: (1) J&J’s own

involvement with Johnson’s Baby Powder after May 19, 1979 subjects it to personal jurisdiction

in Alabama (Doc. # 88 at 6-8, 21-23) and (2) JJCI’s contacts with Alabama should be imputed to

J&J, the parent company, through corporate veil-piercing. (Id. at 23-25).

       First, the court addresses the applicable rules of accrual and finds that any claims against

J&J stemming from Plaintiff’s exposure to asbestos before May 19, 1979 are time-barred. The

court then turns to whether J&J’s post-May 19, 1979 conduct subjects it to personal jurisdiction

in Alabama. Finally, the court examines the parent-subsidiary relationship between J&J and JJCI

and declines to pierce the corporate veil to impute JJCI’s contacts with Alabama to J&J.

Accordingly, for the reasons explained below, J&J’s Motion to Dismiss for Lack of Jurisdiction

(Doc. # 71) is due to be granted.

                   i. Alabama’s “Last Exposure” Rule Bars Any Claims Against J&J
                      Relating to Asbestos Exposure Occurring Before May 19, 1979

       Alabama has two different rules for accrual of personal injury actions relating to asbestos

exposure. Morgan v. Bill Vann Co., 2013 WL 4655756, at *4 (S.D. Ala. Aug. 30, 2013). All

exposure claims pre-dating May 19, 1979 are subject to the “last exposure” rule, which grants

plaintiffs one year from the last date of exposure to file suit. See Garrett v. Raytheon Co., 368

So.2d 516, 521 (Ala. 1979). By contrast, the “discovery rule” promulgated in Alabama Code §

6–2–30(b) governs any claims relating to exposure after May 19, 1980, the date it took effect.

The “discovery rule” mandates that a claim for exposure to asbestos accrues upon discovery of


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an asbestos-related disease. Morgan, 2013 WL 4655756, at *4. Thereafter, the Alabama

Supreme Court determined that the “discovery rule” would not apply retroactively to pre-1980

exposure claims. Griffin v. Unocal Corp., 990 So.2d 291, 293 (Ala. 2008).

       J&J points to the “last exposure” rule and argues that, because Plaintiff’s exposure

occurred before May 19, 1979, she had one year from the date of her last exposure to J&J’s Baby

Powder to file her suit. (Doc. # 72 at 2-5). J&J claims that Plaintiff’s last date of exposure to

J&J’s product was necessarily January 2, 1979, because that is the date on which J&J stopped

designing, manufacturing, marketing, and selling Johnson’s Baby Powder. (Id. at 4). Thus,

according to J&J, Plaintiff’s claims expired on January 2, 1980 and are time-barred. (Id. at 4-5).

J&J extends this reasoning to its personal jurisdiction challenge and maintains that it is not

subject to specific jurisdiction in Alabama because it has not engaged in any post-May 19, 1979

conduct relating to the Plaintiff’s alleged injury in the forum state. (Id. at 8-9). In other words,

J&J asserts that any “timely” post-May 1979 claims Plaintiff could otherwise bring in this case

cannot be asserted here because it no longer designed, manufactured, marketed, or sold

Johnson’s Baby Powder at the time any such claim accrued.

       Plaintiff does not dispute that the application of the “last exposure” rule bars any claims

against J&J related to the sale of Johnson’s Baby Powder on or before May 19, 1979. (Doc. # 88

at 3). And, to be sure, the court agrees with the parties and finds that any claims against J&J

relating to asbestos exposure before May 19, 1979 are time-barred by the “last exposure” rule.

Whether J&J’s post-1979 conduct subjects it to specific personal jurisdiction in Alabama is

addressed below.




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                   ii. J&J’s Post-May 19, 1979 Conduct Relating to Johnson’s Baby
                       Powder Does Not Create Personal Jurisdiction in Alabama

       As previously discussed, the Eleventh Circuit follows a three-part test to determine

whether specific jurisdiction over a defendant is proper: (1) the plaintiff’s claims must “arise out

of or relate to at least one of the defendant’s contacts with the forum;” (2) the nonresident

defendant must have “purposefully availed himself of the privilege of conducting activities

within the forum state;” and (3) if the plaintiff establishes the first two prongs, the defendant may

still avoid jurisdiction by making “a compelling case that the exercise of jurisdiction would

violate traditional notions of fair play and substantial justice.” See Louis Vuitton Malletier, S.A.

v. Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013).

       J&J has attached to its Motion to Dismiss the affidavit of Tina Snyder French, the

Assistant Secretary of J&J. (Doc. # 71-1). French submits the following jurisdictional facts

regarding J&J’s lack of contacts with Alabama: J&J is a New Jersey corporation with its

principal place of business in New Jersey; J&J is not licensed or registered to do business in

Alabama; and J&J does not have any offices located in Alabama. (Id. at 2-3). With respect to the

production and sale of Johnson’s Baby Power, French confirms that J&J has not designed,

manufactured, inspected, advertised, and/or sold Johnson’s Baby Powder during any actionable

period in this case (from May 19, 1979 to present). (Id. at 3). Specifically, it “never sold,

distributed, or introduced Johnson’s Baby Power into interstate commerce or into the State of

Alabama during any actionable time period in this case.” (Id.). Beginning in 1972, Johnson &

Johnson Baby Products Company, a Division of Johnson & Johnson, became the responsible

entity for Johnson’s Baby Powder. (Id.). Thereafter, JJCI (formerly known as Johnson’s Baby

Products Company) became a subsidiary of J&J and took over the above activities. JJCI is a

wholly owned subsidiary of J&J incorporated under the laws of New Jersey, with its principal


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place of business in New Jersey. (Id.). Since January 2, 1979, JJCI has been the sole responsible

entity for the design, production, and sale of Johnson’s Baby Powder. (Id.).

        In response, Plaintiff argues that this court has specific personal jurisdiction over J&J for

her claims arising from her post-1979 exposure to Johnson’s Baby Powder in Alabama for two

reasons. First, she asserts that J&J was still involved in the manufacture, marketing, design, and

sale of the product after May 19, 1979 (Doc. # 88 at 21-22). Specifically, she claims that J&J

owned the talc mine where baby powder talc was sourced; J&J sourced the talc after the mine

was sold; J&J helped create talc marketing policy and procedures; and J&J advertised Johnson’s

Baby Powder to the public. (Id.). Second, Plaintiff argues that J&J is subject to personal

jurisdiction in Alabama because it supplied the allegedly defective talc until 1989. (Id. at 22-23).

By contrast, J&J asserts that these activities were the sole responsibility of its subsidiaries, either

Windsor Minerals or JJCI. (Doc. # 98 at 5-8). Even accepting Plaintiff’s allegations as true,

Plaintiff cannot show that these facts have any relationship to the state of Alabama.5 Thus, for

the reasons explained below, J&J cannot be subject to personal jurisdiction in Alabama based on

its peripheral involvement with Johnson’s Baby Powder.

        As an initial matter, Plaintiff has not pointed to any contacts J&J created with Alabama.

In analyzing whether Plaintiff’s injury arises out of a contact between J&J and Alabama, the

court must focus on the contacts the defendant creates with the forum state, not the plaintiff’s

contacts with the forum. Walden v. Fiore, 571 U.S. 277, 284 (2014) (emphasis added). The

simple fact that Plaintiff bought and used the product in Alabama, and was subsequently injured

in Alabama, does not show that J&J had a sufficient connection to the forum. See Id. at 290

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            For example, the talc mine that Plaintiff alleges J&J owned is located in Vermont—not Alabama. (Doc. #
88 at 6). But even if the mine was located in Alabama, this would not win the day for Plaintiff because she has
presented no arguments indicating that she was injured by the talc that was sourced from that particular mine. Thus,
Plaintiff still could not show that her injury has any relationship to the source location of the talc, even if that
location were in Alabama.

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(rejecting a similar jurisdictional assertion because “[t]he proper question is not where the

plaintiff experienced a particular injury or effect but whether the defendant’s conduct connects

him to the forum in a meaningful way”).

       Although the record evidence shows that J&J lacks direct contacts with the State of

Alabama, Plaintiff implies in her Complaint that J&J purposefully availed itself of the privilege

of conducting activities in Alabama by placing Johnson’s Baby Powder, an allegedly asbestos-

containing talc product, into the “stream of commerce.” (Doc. # 1 at ¶ 8). To be clear,

“purposeful availment may be demonstrated if the defendant who placed the item into the stream

of commerce engaged in additional conduct, such as designing the product for the forum state;

advertising or marketing in that state; or establishing channels for providing advice to that state’s

residents.” Tomas v. Bayerische Motoren Werke AG, 2018 WL 6181172, at *3 (N.D. Ala. Nov.

27, 2018). Moreover, “[t]he defendant’s transmission of goods permits the exercise of

jurisdiction only where the defendant can be said to have targeted the forum; as a general rule, it

is not enough that the defendant might have predicted that its goods will reach the forum state.”

Blackburn v. Shire US, Inc., 2018 WL 2159927, at *5 (N.D. Ala. May 10, 2018) (quoting J.

McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873, 882 (2011)). Thus, Plaintiff must show that J&J

“deliberately engaged in significant activities within [Alabama] or created continuing obligations

with residents of that forum.” Id. (citing Diamond Crystal Brands, Inc. v. Food Movers Intern.,

Inc., 593 F.3d 1249, 1268 (11th. Cir. 2010)).

       Regardless of whether J&J or its subsidiaries (Windsor or JJCI) acted as the

“manufacturer” for the purposes of the court’s jurisdictional analysis, Plaintiff has not advanced

a single theory as to how J&J -- through its own actions -- targeted the Alabama market. First,

the talc mine that J&J allegedly owned was located in Vermont. (Doc. # 88 at 6). Second,



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whether J&J or any of its subsidiaries was the entity that sourced the talc is also of no

consequence, again, because none of these activities occurred in Alabama or were directed at

Alabama. Third, there is no evidence that J&J designed a marketing campaign targeted at

Alabama consumers. With respect to Plaintiff’s claim under the AEMLD that J&J was a supplier

of the allegedly contaminated talc, neither party seems to dispute that the supply of talc (whether

supplied by J&J or its subsidiary, Windsor Minerals) came from the Windsor Mine in Vermont.6

Given these facts, Plaintiff has failed to show that J&J deliberately targeted the Alabama market

for purposes of personal jurisdiction.

         In short, Plaintiff has presented no arguments indicating that her injury arises from a

contact between J&J and Alabama or that J&J had any purposeful relationship with the State of

Alabama. Consequently, Plaintiff has failed to establish the existence of personal jurisdiction

over J&J based on J&J’s conduct within the forum. Her arguments in favor of this court’s

jurisdiction over J&J based on its post-May 19, 1979 conduct simply challenge J&J’s assertions

that its subsidiaries are the responsible entities for Johnson’s Baby Powder. Consequently, these

arguments are more properly considered within the context of a corporate veil-piercing analysis,

addressed below.

                     iii. Plaintiff Cannot Pierce the Corporate Veil to Impute JJCI’s Contacts
                          with Alabama to J&J as the Parent Company
         As an alternative means of establishing personal jurisdiction, Plaintiff argues that the

court should pierce the corporate veil between J&J and its subsidiary, JJCI, to attribute JJCI’s


         6
            Plaintiff halfheartedly argues that Windsor is not a separate subsidiary company because (1) J&J owned
all the stock of the company, (2) J&J was the entity that sold Windsor, and (3) J&J filed joint income tax returns and
required Windsor employees to comply with J&J corporate policies. (Doc. # 88 at 22-23). She does not, however,
frame her argument in a manner consistent with corporate veil-piercing principles. In fact, based on the
jurisdictional record before the court, she has not even attempted to make the threshold showing that this court has
personal jurisdiction over Windsor—a precondition for piercing the corporate veil to impute Windsor’s Alabama
contacts (if any) to J&J. In any event, the court need not decide whether Windsor retained its own corporate identity
because Plaintiff has failed to establish that J&J specifically targeted the Alabama market through its own actions.

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post-May 19, 1979 contacts with Alabama to J&J. (Doc. # 88 at 23-25). As an initial matter, the

court notes that JJCI has not opposed this court’s jurisdiction. Thus, the only remaining question

is whether the court may pierce the corporate veil between J&J and JJCI to establish personal

jurisdiction over J&J. For the reasons stated below, the court finds that J&J cannot be subject to

personal jurisdiction in Alabama based on corporate veil-piercing because the record

demonstrates that J&J and JJCI maintained sufficiently separate corporate identities.

         Generally speaking, when a “subsidiary's presence in the state is primarily for the

purpose of carrying on its own business and the subsidiary has preserved some semblance of

independence from the parent, jurisdiction over the parent may not be acquired on the basis of

the local activities of the subsidiary.” Cahaba Disaster Recovery, LLC v. DRC Emergency

Servs., LLC, 2015 WL 9489911, at *3 (N.D. Ala. Dec. 30, 2015) (quoting Consolidated Dev.

Corp. v. Sherritt, Inc., 216 F.3d 1286, 1293 (11th Cir. 2000)). That being said, “it is compatible

with due process for a court to exercise personal jurisdiction over [a corporation] that would not

ordinarily be subject to personal jurisdiction in that court when the...corporation is an alter

ego...of a corporation that would be subject to personal jurisdiction in that court.” Id. at *3

(quoting Patin v. Thoroughbred Power Boats Inc., 294 F.3d 640, 654 (5th Cir. 2002)).

         Both parties have looked to Alabama veil-piercing law in advancing their arguments.

Under Alabama law, a plaintiff must establish three elements to justify piercing the corporate

veil under an alter ego theory:7

         (1) The dominant party must have complete control and domination of the
             subservient corporation's finances, policy and business practices so that at the

         7
           Alabama recognizes three theories of corporate veil-piercing: “(1) inadequacy of capital; (2) fraudulent
purpose in conception or operation of the business; or (3) operation of the corporation as an instrumentality or alter
ego.” First Health, Inc. v. Blanton, 585 So. 2d 1331, 1334 (Ala. 1991). Plaintiff relies on the third category to argue
that JJCI was a mere instrumentality or alter ego of J&J. Accordingly, the court only addresses this third theory of
corporate veil-piercing.


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               time of the attacked transaction the subservient corporation had no separate
               mind, will or existence of its own;

         (2) The control must have been misused by the dominant party. Although fraud
             or the violation of a statutory or other positive legal duty is misuse of control,
             when it is necessary to prevent injustice or inequitable circumstances, misuse
             of control will be presumed; [and]

         (3) The misuse of this control proximately cause[d] the harm or unjust loss
             complained of.
Cahaba Disaster Recovery, LLC, 2015 WL 9489911 at *4 (quoting First Health, Inc. v. Blanton,

585 So. 2d 1331, 1334–35 (Ala. 1991)).8

         The control required by the dominance prong “amounts to total domination of the

subservient corporation, to the extent that the subservient corporation manifests no separate

corporate interests of its own and functions solely to achieve the purposes of the dominant

corporation.” Kwick Set Components, Inc. v. Davidson Indus., Inc., 411 So. 2d 134, 137 (Ala.

1982) (internal quotations omitted). Alabama courts also consider the following factors in

determining whether a subsidiary corporation is a “mere instrumentality” of the parent

corporation:

         (a)      The parent corporation owns all or most of the capital stock of the
                  subsidiary.

         (b)      The parent and subsidiary corporations have common directors or officers.

         (c)      The parent corporation finances the subsidiary.

         (d)      The parent corporation subscribes to all the capital stock of the subsidiary
                  or otherwise causes its incorporation.

         8
            Plaintiff addresses only the first element required to pierce the corporate veil. She makes no argument
with respect to the second and third elements. Although one court in this district has found that the “misuse of
control element” need not be considered in a jurisdictional analysis, a more recent decision of this court has decided
otherwise. Compare Comeens v. HM Operating, Inc., 2014 WL 12650102, at *6 (N.D. Ala. Dec. 1, 2014) (accepting
plaintiffs’ allegations of alter-ego jurisdiction despite failure to allege any “misuse of control”), with Cahaba
Disaster Recovery, LLC, 2015 WL 9489911 at *5 (applying the “misuse of control” element in rejecting plaintiff’s
assertion of alter-ego jurisdiction). However, the court need not decide whether all three elements apply in a
jurisdictional analysis, because Plaintiff has failed to successfully make the threshold showing that J&J completely
controlled and dominated JJCI so that JJCI lacked an existence of its own.

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        (e)     The subsidiary has grossly inadequate capital.

        (f)     The parent corporation pays the salaries and other expenses or losses of
                the subsidiary.

        (g)     The subsidiary has substantially no business except with the parent
                corporation or no assets except those conveyed to it by the parent
                corporation.

        (h)     In the papers of the parent corporation or in the statements of its officers,
                the subsidiary is described as a department or division of the parent
                corporation, or its business or financial responsibility is referred to as the
                parent corporation's own.

        (i)     The parent corporation uses the property of the subsidiary as its own.

        (j)     The directors or executives of the subsidiary do not act independently in
                the interest of the subsidiary but take their orders from the parent
                corporation in the latter's interest.

        (k)     The formal legal requirements of the subsidiary are not observed.

Duff v. Southern Ry. Co., 496 So. 2d 760, 763 (Ala. 1986). This list is non-exhaustive, and no

single factor is dispositive. Id.

        J&J again relies on French’s affidavit to support its assertion that J&J and JJCI

maintained separate corporate identities. (Doc. # 71-1). French’s affidavit provides that J&J and

JJCI are completely separate legal entities whose corporate relationship is one of parent-

subsidiary; they manage and operate their own day-to-day business activities and maintain

separate boards of directors and officers; and JJCI is not referred to as a department or division

of J&J. (Id. at 4). French also asserts that J&J and JJCI are financially independent of each other

in that JJCI is fully capitalized and prepares its own financial statements and budgets. (Id.). J&J

does not pay for any of JJCI’s “research, salaries, raw materials, or other operating expenses.”

(Id.). Furthermore, the companies maintain separate “by-laws, minutes, corporate records,

financial records, and bank accounts.” (Id.). French does concede, however, that J&J and all of



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its subsidiaries “file some government-mandated consolidated financial reports, such as Annual

Reports on Form 10-K under the Securities Exchange Act of 1934.” (Id.).

       In response, Plaintiff contends that J&J exercises complete control and domination over

JJCI because (1) JJCI does not have a separate board of directors and is overseen by the board of

J&J, (2) JJCI is referred to as a “division” or “business unit” of J&J, and (3) J&J uses its own

corporate name to publicly promote and defend Johnson’s Baby Powder. (Doc. # 88 at 23-25).

The court finds that each of these arguments is insufficient to justify piercing the corporate veil

to exercise personal jurisdiction over J&J.

                       1. Plaintiff’s Contention that JJCI Does Not Have an Independent
                          Board of Directors and is Overseen by the Board of J&J is
                          Without Merit.

       To cast doubt on French’s assertion that JJCI maintains its own independent board of

directors, Plaintiff offers testimony French gave in a prior deposition in In Re: Johnson &

Johnson Talcum Powder Products Marketing, Sales Practices, and Products Liability Litigation,

MDL No. 2738 (“MDL No. 2738”). (Doc. # 88-4). When asked whether JJCI had a board of

directors, French responded, “They have a leadership team, not a sort of independent board and

with respect to the board of directors.” (Id. at 13). However, in the telephone deposition French

gave in this case, she clarified the term “leadership team.”

       A:      For each of our operating companies that sell our products in all of our
       sectors, they have really their own, say, board of directors. But in recent years,
       based just in the world of corporate governance, when you refer to the “board of
       directors,” it generally refers to sort of oversight bodies that have independent or
       nonaffiliated directors.

       …

       A:     Okay. To be clear, really currently we refer to Johnson & Johnson as
       having a board of directors and our operating companies as having management
       committees or leadership teams.



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               As we look at historic records, likely those management teams or
       leadership teams would have been referred to as board of directors as well. And
       just to be clear, the role is really the same. It’s the terminology that has really
       changed over time.

       Q:     Okay. So to be clear, Johnson & Johnson Consumer, Inc. does not today
       have something that is referred to as a board of directors. Correct?

       A:      Yes. We refer to it as a leadership team or a management committee.


(Doc. # 88-4 at 9-11) (emphasis added). These semantics do not change the fact that the JJCI

leadership team manages that subsidiary and functions like a board of directors. This testimony

is consistent with the affidavit French provided in this case stating J&J and JJCI maintain

independent boards of directors with separate by-laws, minutes, corporate records, etc. (Doc. #

71-1). Consequently, the court agrees with J&J and finds that “Plaintiff [has failed] to establish

the premise of her argument—that JJCI has no board of its own.” (Doc. # 98 at 14).

       As to J&J’s oversight role over JJCI, Plaintiff submits the following testimony from

French’s deposition in MDL No. 2738:

       Q:     Okay. And so are the products that are made by JC – JJCI, are they
       overseen by the J&J board of directors?

       A:    The entire business of Johnson & Johnson is overseen by the board of
       Johnson & Johnson.

       …

       So JJCI is one component of our business…and part of their purview.

       Q:     So the directors of Johnson & Johnson’s Board have oversight of all the
       business, including all the products of JJCI?

       A:      That is correct.

       …

       Q:    All right. If the board says to management, “You need to do this,” the
       management will have to do it, right?


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       …

       A:     I would say they provide guidance. It’s very clear here what their
       responsibility is.

               They provide oversight to the operations of the company and exercise
       business judgment on matters of critical and long-term significance to the
       company in furtherance of what they reasonably believe to be in the best interest
       of the company.

(Doc. # 88-4 at 13-14) (emphasis added). Thus, the undisputed testimony is that J&J does not

control the day-to-day business decisions of JJCI. Further, and in any event, the court notes that

“a parent corporation can be directly involved in the activities of its subsidiaries without

incurring liability if the involvement is consistent with the parent's investor status.” Stevens v.

Reliance Fin. Corp., 2014 WL 631612, at *8 (M.D. Ala. Feb. 18, 2014) (quoting Vogt v.

Greenmarine Holding, LLC, 2002 WL 534542, at *6 (N.D. Ga. Feb. 20, 2002)). “Such parental

involvement could include monitoring of the subsidiary's performance, supervision of the

subsidiary's finance and capital budget decisions, and articulation of general policies and

procedures.” Id. (internal quotations omitted). The level of oversight French described is more

consistent with the “bigger-picture” oversight allowed in the above-cited decisions. The record

shows that J&J’s role is merely one of “guidance” as opposed to direct management of JJCI’s

day-to-day business operations. Thus, Plaintiff’s contention that J&J’s board of directors

improperly oversees JJCI’s business is without merit and does not warrant piercing the corporate

veil to exercise jurisdiction over J&J.

                       2. Reference to JJCI as a “Business Unit” or “Division” of J&J Does
                          Not Demonstrate J&J’s Control and Dominion Over JJCI.

       Plaintiff draws the court’s attention to a statement French made in her deposition in MDL

No. 2738 that “the [J&J] board understands the business strategy of the consumer division”



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(referring to JJCI). (Doc. # 88-4 at 34-35). However, a closer examination of the broader context

of that statement makes clear that French was explaining the distinction between J&J’s overall

awareness of its subsidiaries’ actions and JJCI’s day-to-day management of its affairs. For

example, when asked whether J&J developed a business strategy for talcum powder safety,

French responded as follows:

       A:      And the company [presumably, JJCI] would be responsible for developing
       strategies about really the health and safety of all of our products, what would be
       an appropriate label, and the other day-to-day management operations.

               The board [of J&J] is informed of those strategies. It is informed of key
       risk points. But the board itself does not develop strategies. That is not within the
       role of the board of directors.

       …

       A:     It is not the role of the board to develop strategies for a specific product of
       J&J. The role of the board is overall, really, I guess reviewing the overall sort of
       risk assessment for the company as a whole as a representative of the
       shareholders.

(Doc. # 88-4 at 35). As previously discussed, the parent company “must have complete control

and domination of the subservient corporation's finances, policy and business practices so that at

the time of the attacked transaction the subservient corporation had no separate mind, will or

existence of its own.” Cahaba Disaster Recovery, LLC, 2015 WL 9489911 at *4. French’s

testimony actually demonstrates the exact opposite. JJCI develops its own business strategies,

while J&J examines those strategies on a more global level in the context of the health of the

company as a whole. Plaintiff has failed to show that J&J exerts complete control and dominion

over JJCI such that its day-to-day business practices are absorbed by its parent company.

       Finally, the court notes that JJCI has existed as a “separate economic entity since January

2, 1979.” (Doc. # 98 at 16). French’s affidavit provides that beginning in 1972, “Johnson &

Johnson Baby Products Company, a Division of Johnson & Johnson, was the responsible entity


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for Johnson’s Baby Powder.” (Doc. # 71-1 at 3). On January 2, 1979, JJCI (formerly doing

business as Johnson’s Baby Products Company) became a wholly-owned subsidiary of J&J.

(Id.). In this context, French’s reference to a “consumer division” of Johnson & Johnson is

insufficient evidence of J&J’s alleged dominion or control over JJCI. Thus, the court declines to

pierce the corporate veil to exercise personal jurisdiction over J&J on these grounds.

                      3. Evidence of a Common Marketing and Branding Scheme Does
                         Not Demonstrate J&J’s Control and Dominion Over JJCI’s Daily
                         Operations.

       Plaintiff has produced a series of exhibits in support of her argument that J&J “actively

presents itself to consumers as the company behind Johnson’s Baby Powder.” (Doc. # 88 at 23-

24). These exhibits include photos of bottles of Johnson’s Baby Powder bearing J&J’s name

(Doc. # 88-13); photos of J&J’s trademark that appears on the bottles (Doc. # 88-14); a television

commercial for Johnson’s Baby Powder bearing J&J’s name (Doc. # 88-17); examples of social

media pages referencing only J&J, not JJCI (Doc. # 88-16); and J&J’s public statements

referring to Johnson’s Baby Powder as “our product” and “our talc” (Doc. # 88-10). However, as

explained below, the use of a common marketing image is not dispositive of a parent company’s

complete control and dominion over its subsidiary.

       Courts have consistently rejected similar arguments in declining to pierce the corporate

veil for purposes of personal jurisdiction. For example, in Goldthrip v. Johnson and Johnson,

2016 WL 7472156, at *7 (S.D. Ala. December 8, 2016), the court found that a J&J subsidiary’s

use of J&J’s name on its logo was insufficient proof that the subsidiary was an alter ego of J&J.

Likewise, in In re Enterprise Rent-A-Car Wage & Hour Empl. Practices Litig., “[t]he common

marketing image and joint use of trademarked logos” failed to render the subsidiary an alter ego

of its parent. 735 F. Supp. 2d 277, 323 (W.D. Pa. 2010). The court reasoned that while “[related



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companies may be] portrayed as a single brand to the public…this evidence does not

demonstrate the necessary control by defendant parent over the subsidiaries.” Id.; see also

Horowitz v. AT&T Inc., 2018 WL 1842525, at *9 (D.N.J. April 25, 2018) (same); In re Chinese-

Manufactured Drywall Products Liability Litig., 168 F. Supp. 3d 918, 937-38 (E.D. La. 2016)

(same); Seiko v. Epson Corp. v. Print-Rite Holdings, Ltd., 2002 WL 32513403, at *15 (N. Or.

Apr. 30, 2002) (same).

       Moreover, as J&J notes, a parent company is entitled to claim its subsidiary’s successes

on a public forum without jeopardizing their separate corporate identities. (Doc. # 98 at 18). See

Am. Trading & Prod. Corp. v. Fischbach & Moore, Inc., 311 F. Supp. 412, 416 (N.D. Ill. 1970)

(a parent company’s “boastful advertising” in a magazine does not “show in any way that

corporate identities were otherwise ignored by the participants in the conduct of their

enterprises”). By that same logic, it follows that a parent company may also publicly defend the

actions of its subsidiaries because such public displays of corporate accountability do not

resemble complete control and dominion over the day-to-day operations of the subsidiary. Again,

these grounds are insufficient to justify piercing the corporate veil to impute JJCI’s contacts to

J&J.

       Plaintiff has failed to demonstrate that J&J exercised complete control and dominion over

JJCI. Consequently, the court declines to pierce the corporate veil between the two companies in

order exercise personal jurisdiction over J&J.

IV.    Conclusion

       For the reasons explained above, Defendants’ Motions to Dismiss for Lack of

Jurisdiction (Docs. # 69, 71) are due to be granted. An Order consistent with this Memorandum

Opinion will be entered.



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DONE and ORDERED this February 25, 2019.



                              _________________________________
                              R. DAVID PROCTOR
                              UNITED STATES DISTRICT JUDGE




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